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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     :
UNITED STATES OF AMERICA             :
                                     :    Criminal No. 21-cr-00670 (CJN)
                                     :
v.                                   :
                                     :
STEPHEN K. BANNON,                   :
                                     :
            Defendant.               :
____________________________________:

          DEFENDANT’S UNOPPOSED MOTION FOR EXTENSION OF TIME

        On May 14, 2024, the Government filed a Motion to Lift Stay of Sentence Pending Appeal

in this case (ECF #193). The Court has issued a Minute Order, directing the Defendant to respond

to the Motion by May 16, 2024. The Defendant, by and through the undersigned counsel,

respectfully requests an extension of time for filing his response in opposition from May 16, 2024

to May 20, 2024, for the reasons set forth below. The undersigned represents to the Court that

Government counsel has been consulted and has advised that the Government does not object to

this request.

        As and for grounds for the motion, the Defendant sets forth the following:

        1. The Court’s Order gives the Defendant two (2) days to respond to the Government’s

            motion, rather than the fourteen (14) days ordinarily provided in this District for a

            response to a motion. LCrR 47 (b).

        2. The undersigned is a solo practitioner without any staff or assistants. The undersigned

            just learned today that a client has been extradited from Malaysia to New York and

            arrived last night and is incarcerated. The undersigned must travel to New York to

            meet with the client to prepare for a hearing, travel to Atlanta, and then travel back to
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           New York for a hearing in the case between now and May 20th. It is a complicated

           case with significant extradition-related and other issues to be addressed on May 20th.

       3. The undersigned has to execute somewhat voluminous paperwork and get fingerprinted

           in order to apply for CIPA clearance in another case within a five (5) day-time limit.

       4. The undersigned serves as counsel in four separate cases recently filed on behalf of

           victims of the October 7, 2023 terrorist attacks in Israel, with filing deadlines this week

           in two of them and has other obligations this week in several other cases.

       5. The issues to be addressed in the response to the Government’s motion in this case are

           serious and important ones with significant consequences and the undersigned needs

           additional time to be able to meaningfully respond to the motion.

       For the foregoing reasons, for good cause shown, and without objection from the

Government, the Defendant respectfully requests an extension of time for filing his Response from

May 16, 2024 to May 20, 2024.

                                      Respectfully submitted,

                                                 /s/ David I. Schoen
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                                              Counsel for Defendant Stephen K. Bannon




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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 14th day of May, 2024, a copy of the foregoing Motion

was served via the Court’s CM/ECF system on all properly registered parties and counsel.


                                              /s/ David I. Schoen
                                           David I. Schoen (D.C. Bar No. 391408)




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